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                    UNITED STATES DISTRICT COURT

                SOUTHERN DISTRICT OF GEORGI A

                         SAVANNAH DIVISION

UNITED STATES OF AMERICA,          )

V.                                 ) Case No . CR407-037

ISIDRO PULIDO-TEJEDO, an d
JOSE MARTIN OROZCO-CUELLAR, )

     Defendants .

                    REPORT AND RECOMMENDATIO N

     Two of the defendants in this case, indicted for conspiring to import

and distribute a controlled substance, have moved to suppress evidence

obtained upon their seizure and arrest on January 17, 2007 . Docs . 48,

73 . Defendant Pulido-Tejedo contends that the warrantless stop and

search of his vehicle was unlawful because the agents lacked probable

cause to arrest him . Doc. 48. Defendant Orozco-Cuellar, in addition to

asserting that he was unlawfully seized, contends that his post-arrest

statements were the product of a custodial interrogation in violation of

his Fifth Amendment rights . Doc. 73 . The undisputed facts establish

that the agents did not infringe any of defendants' constitutional rights

during the arrest and ensuing search .
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I. BACKGROUND

        On January 11, 2007, federal agents at the Port of Savannah

inspected a twenty-foot container from the Port of Altamira, Mexico

which was manifested as containing 135 boxes of "washing powder ."

Doc. 1 .1 The agents opened some of the boxes and found that many of

them contained one kilogram bricks of marijuana . Id . Doc . 1 . The

agents set up a supervised controlled delivery of the container to a

storage warehouse in Atlanta, Georgia . Id. The agents then instructed

the management of the warehouse to contact the owner to retrieve the

shipment. Id. On January 17, 2007, an unidentified Hispanic male

arrived at the warehouse driving a U-Haul truck . After the truck was

loaded by warehouse personnel, it was driven to a nearby K-Mart . Id .

The driver of the U-Haul walked into the store and was replaced by a

new driver, later identified as co-defendant Martin Villegas-Tello . Id.

        As the U-Haul left the K-Mart parking lot, agents observed a green

Ford Aerostar van driven by a Hispanic male (later identified a s


       'The parties have stipulated that, for purposes of deciding the motions to
suppress, the facts set forth in the criminal complaint (doc . 1) are correct and that no
evidentiary hearing is needed to further develop the events surrounding defendants'
arrest. Doc . 73, at 2 n .1 ; doc . 87, at 2 n .2 ; doc . 48, at 1, n .1 ; doc. 88, at 2 n .1 ; doc . 77,
at 1 n.1; doc. 89, at 1 .
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defendant Pulido-Tejedo) following closely behind the U-Haul as it

traveled north on Interstate 85 . Id. Agents witnessed the Aerostar

change lanes so as to block traffic for the U-Haul . Doc. 73, Ex . 1 (USAO-

00024) . At approximately 2 :55 p.m. the two vehicles left the interstate

and stopped at a gas station, where agents observed the driver of a gray

Honda Accord (later identified as defendant Orozco-Cuellar) speak

briefly with the driver of the U-Haul and the driver of the Aerostar . Id . ;

doc . 1, at 6. The Honda Accord, followed by the U-Haul truck and the

Ford Aerostar, then reentered the interstate and drove in tandem north

on 1-85 .   Doe. 1, at 7 . Id. Shortly thereafter, police stopped the three

vehicles and apprehended each of the drivers . Id.

      As developed in the briefs (doc . 87, at 2-3), the following additional

facts are undisputed: Defendants were handcuffed, placed in police cars,

and transported to a nearby weigh station . Immigration and Customs

Enforcement Agent Blankley removed Orozco-Cuellar from the police car

and began to walk him to an "outbuilding" for questioning . At this time,

the following dialogue took place :

      Orozco-Cuellar : The green's not mine, the green's not mine .

      Agent Blankley : Green? What green?
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      Orozco-Cuellar : The green .

     Agent Blankley : The green? What green? The marijuana?

      Orozco-Cuellar : Yes.

     Agent Blankley : Whose is it?

      Orozco-Cuellar : The young guy told me what was in it .

Doc . 1 . As Orozco-Cuellar made the final statement, he pointed at

Pulido-Tejedo. Agent Blankley then advised Orozco-Cuellar of his

Miranda rights in English and Spanish, and Orozco-Cuellar stopped

speaking .




II. PROBABLE CAUS E

      Defendant Pulido-Tejedo argues that since no probable cause

existed to justify the stop of his vehicle, his arrest and the subsequent

search of his vehicle violated his Fourth Amendment rights under the

United States Constitution . Doc. 48 . Defendant Orozco-Cuellar

contends that the initial seizure of his vehicle was illegal since the agents

had no reasonable articulable suspicion that he was engaged in any

criminal activity. Doc. 73.


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      "When the constitutional validity of an arrest is challenged, it is

the function of the court to determine whether the facts available to the

arresting officers at the moment of the arrest support a finding of

probable cause." United States v . Allison, 953 F.2d 1346, 1349-50 (11th

Cir. 1992) (citing Beck v. Ohio, 379 U.S. 89 (1964)) ; see Brinegar v.

United States , 338 U .S . 160, 175-76 (1949) . Probable cause to effect a

warrantless arrest "exists where the facts and circumstances within an

officer's knowledge and of which he has reasonably trustworthy

information are sufficient to warrant a person of reasonable caution in

the belief that an offense has been or is being committed by the person to

be arrested ." Allison , 953 F .2d at 1350 ; see also United States v. Diaz-

Lizaraza , 981 F.2d 1216, 1222 (11th Cir . 1992) ; United States v.

Gonzalez , 969 F . 2d 999, 1002 (11th Cir. 1992) . Probable cause is a "fluid

concept" not easily reduced to a neat set of rules . Illinois v . Gates, 462

U.S. 213, 232 (1983) . The assessment of probable cause depends on the

totality of the circumstances presented in an individual case . Allison,

952 F .2d at 1350 .

      While probable cause demands more than a mere suspicion, it

requires far less than proof beyond a reasonable doubt or even a prim a
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facie showing of criminal activity . Gates , 462 U .S . at 235 ("'only the

probability, and not a prima facie showing of criminal activity is the

standard of probable cause"') . Rather, it is simply a "fair probability" o r

"substantial chance" of criminal activity that is required , " not an actual

showing of such activity ." Id . at 244 n.13 ; United States v . Tapia, 912

F .2d 1367, 1370 (11th Cir . 1990) (noting "the implicit requirement of

probable cause that a fair probability that evidence of a crime will be

found") .

      Based on the facts available to the officers at the time of the arrest,

they had probable cause to believe that Pulido-Tejedo and Orozco-

Cuellar were engaged in the commission of a crime . The agents knew

that the U-Haul was transporting a large shipment of marijuana and had

witnessed the U-Haul travel from the warehouse to a nearby K-Mart

parking lot, where the driver disappeared inside the store and was

replaced by a new driver . They then observed a van driven by Pulido-

Tejedo follow the U-Haul out of the parking lot and drive in tandem with

the U-Haul, at times changing lanes to block traffic for it. The agents

also witnessed Pulido-Tejedo and the U-Haul driver stop at a gas station,

speak with Orozco-Cuellar (the driver of the Honda Accord), and retur n
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to the interstate as a three-vehicle convoy . The officers had actual

knowledge that a crime was being committed and, given their

observations and knowledge of the "lead car-load car-chase car"

technique, they had reasonable grounds to believe that the drivers of the

three vehicles were each involved in its commission. They therefore had

probable cause to stop and arrest both Pulido-Tejedo and Orozco-Cuellar .

See United States v . Naiera , 165 Fed . Appx . 700 (10th Cir. 2006) (police

who had discovered bags of marijuana hidden in cargo of semi-truck and

had arrested those unloading the cargo on a farm, had probable cause to

arrest occupant of van who, some 10-15 minutes later, drove in tandem

onto the farm with another vehicle driven by an individual implicated in

the smuggling operation) ; United States v. Vital-Padilla , 500 F .2d 641,

644 (9th Cir. 1974) (reasonable belief that two vehicles were traveling

together, along with knowledge of the lead car-load car procedure and

discovery of illegal aliens in the load car, established probable cause to

arrest the driver of the lead car) .

      Once the agents acquired probable cause to arrest defendants and

their companion on drug smuggling charges, they had the right to search

each vehicle and its entire contents . The agents reasonably believed that
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defendants were drug smugglers whose vehicles likely contained evidence

linking them to the marijuana smuggling scheme under investigation .

"A warrantless search of a vehicle is permitted if (1) there is probable

cause to believe that the vehicle contains contraband, and (2) there are

exigent circumstances which necessitate a warrantless search or

seizure." United States v . Parrado , 911 F.2d 1567, 1571 (11th Cir . 1990) ;

United States v . Alexander, 835 F .2d 1406, 1408-09 (11th Cir. 1988) .

"`[T]he mobility of an automobile is exigency enough ."' United States v .

Forker , 928 F.2d 365, 369 (11th Cir . 1991) (citation omitted) .

Furthermore, "[w]hen an occupant of an automobile is the subject of a

lawful arrest, the Fourth Amendment permits the arresting officers to

contemporaneously conduct a warrantless search not only of the

occupant himself, . . . but also of the passenger compartment of the

automobile, as well as any closed (or open) containers found in this area

of the automobile ." United States v. Gonzalez, 71 F .3d 819, 825 (11th

Cir. 1996) ; New York v . Belton, 453 U.S. 454, 460 (1981) (announcing a

bright-line rule that all areas within the passenger compartment of a

vehicle are within the occupant's "immediate control" and therefore may

be searched incident to his arrest) . Thus any evidence seized from the
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vehicles following defendants' arrest was obtained lawfully . Accordingly,

defendants' motions to suppress evidence on the ground that they were

illegally seized and arrested should be DENIED .



III. OROZCO-CUELLAR'S STATEMENTS

      Defendant Orozco-Cuellar also contends that the statements he

made were the result of "custodial interrogation" by Agent Blankley .

Doc. 73. Because the agent did not administer Miranda warnings prior

to obtaining the statements, defendant argues that his statements must

be suppressed as a violation of the Fifth Amendment privilege against

self-incrimination . Id .

      It is of course well settled that law enforcement officials may not

conduct a custodial interrogation of a suspect without first advising him

of the rights guaranteed by the Fifth Amendment . Miranda v . Arizona,

384 U.S . 436, 471 (1966) .    Miranda determined that any custodial

interrogation of a suspect involves "inherently compelling pressures

which work to undermine the individual's will to resist and to compel

him to speak where he would not otherwise do so freely ." Id. at 467 .

The Court therefore created a conclusive presumption that evidenc e
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produced by custodial interrogation is coerced unless the suspect is first

informed "that he has a right to remain silent, that any statement he

does make may be used as evidence against him, and that he has a right

to the presence of an attorney, either retained or appointed," during any

questioning. Id . at 444 .

      As Orozco-Cuellar was clearly in custody, the only issue is whether

his statements were the product of interrogation . The Supreme Court

has defined "interrogation" as encompassing "any words or actions on

the part of the police (other than those normally attendant to arrest and

custody) that the police should know are reasonably likely to elicit an

incriminating response from the suspect ."    Rhode Island v . Innis, 446

U.S. 291, 301 (1980) . Miranda, however, was never meant to apply to all

statements taken by the police after a person has been taken into

custody, but only to those statements that result from "express

questioning or its functional equivalent ." Id . at 300-301 . The

protections of Miranda, therefore, do not extend to spontaneous,

unprompted statements made to law enforcement officers after a suspect

has been taken into custody .    Miranda, 384 U .S . at 478 ; Cannady v .

Dugger, 931 F.2d 752, 754 (11th Cir . 1991) ("Voluntary and spontaneous
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comments by an accused, even after Miranda rights are asserted, are

admissible evidence if the comments were not made in response to

government questioning .") . '

      Furthermore, a number of circuits have held that when a suspect

makes an ambiguous spontaneous statement to the police, questions

seeking clarification of that statement do not implicate Miranda.              See

United States v . Howard , 2007 WL 177890, *5 (6th Cir ., January 24,

2007) (permissible for officer to ask "What do you mean?" in an attempt

to clarify detainee's statement that "All that stuff is mine .") ; United

States v . Gonzalez , 121 F .3d 928, 939-40 (5th Cir . 1997) (permissible for

officer to ask if suspect was referring to the cocaine and gun found by the

officers when suspect spontaneously stated "all of that is mine") ;

Andersen v. Thieret , 903 F.2d 526, 532 (7th Cir. 1990) (after arrestee

said "I stabbed her", proper for officer to ask "Who?") ; Butzkin v. Wood,

886 F.2d 1016, 1018 (8th Cir. 1989) (when detainee stated that he had

"not been totally honest the day before", proper for officer to inquire

what he had not been honest about) ; United States v . Rhodes , 779 F.2d



        2Defendant concedes that his initial statement , "The green's not mine, the
green ' s not mine," was an unprompted utterance and is therefore admissible .
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1019, 1032 (4th Cir . 1985) (proper for officer to ask "Why?" in response

to arrestee's statement that officer shouldn't seize spiral notebook) .

While the Eleventh Circuit has not addressed this question, this Court

agrees that where an officer has taken no affirmative steps to elicit a

response from a suspect, but merely requests clarification of the

suspect's volunteered statement, the request for clarification does not

rise to the level of an "interrogation" under Miranda. When Agent

Blankley responded to defendant's statement by asking "The green?

What green? . . . The marijuana?", he was seeking clarification of Orozco-

Cuellar's initial statement that "the green" was not his . Accordingly,

defendant's responses to those follow-up questions were not the product

of "interrogation" within the meaning of Miranda.

      The Court, therefore, rejects defendant's contention that while

"` Miranda does not apply to unsolicited, spontaneous and voluntary

statements, not made in response to interrogation . . . officers must give

warnings before any follow-up questioning is resumed."' Doc . 87, at 5

(citation omitted) (emphasis added) .' While some courts admit answer s



     3"Innis should not be read as a prohibition upon all follow-up questions ." 2
Wayne R . LaFave and Jerold H . Israel, Criminal Procedure § 6 .7(d) (2d ed . 2007).
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to all follow-up questions on the theory that the answers are a

continuation of the spontaneous statement, according to one treatise

"[t]he better view" is that answers to follow-up questions are outside the

scope of Miranda "only if the questions are neutral efforts to clarify what

has already been said rather than apparent attempts to expand the scope

of the statement previously made ." 2 LaFave and Israel, Criminal

Procedure § 6 .7(d) . Thus, Miranda "interrogation" does occur when

police, in response to an arrestee's spontaneous statement, pose "a

question which would enhance the defendant's guilt or raise the offens e

to a higher degree . . . ." Id . Here, after clarifying what defendant meant

by "the green," the agent failed to administer the Miranda warnings

before asking the additional follow-up question, "Whose [marijuana] is

it?" It could be argued that this final question seeks information that

exceeds the purpose of clarification and thus falls into the realm of

custodial interrogation . But this question did not serve to "enhance"

defendant's guilt or raise the offense to a new level, for the defendant

had already volunteered that he knew about the marijuana in the U-

Haul, and since he had disclaimed any ownership of the drug, it was only

natural for the agent to ask whose marijuana it was. The Court views
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this final question as a further attempt to clarify the defendant's

spontaneously volunteered statement rather than as some effort to

enhance or amplify defendant's guilt .



IV. CONCLUSIO N

         Because the agents reasonably believed that defendants Pulido-

Tejedo and Orozco- Cuellar were assisting in the smuggling of a large

shipment of marijuana, they had probable cause to stop and arrest

defendants .     The consequent search of their persons and property,

therefore, violated none of defendants ' rights. The follow-up questions

posed to defendant Orozco - Cuellar after his spontaneous statement to

the arresting agent were intended to clarify his statement rather than

enhance his guilt,      and thus those questions did not constitute

"interrogation " within the meaning of Miranda. Defendants ' motions to

suppress (doc . 48 , 73) should be DENIED .
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         SO REPORTED AND RECOM MENDED this                       ay of June,

2007 .

                                          UNITED STATES MAGISTRATE JUDGE
                                          SOUTHERN DISTRICT OF GEORGIA


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